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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                                 Judge : Wm R. Wilson, Jr.
counsel: John Ray White                                               Court Reporter: C. Newburg
counsel:                                                            Courtroom Deputy: M. Johnson
                                                                                      Interpreter:
       vs                                                                        USPO: K. Lawson

TOMICA WOODS                                                                Date: September 8, 2008
counsel: Lisa Peters

                                                                 CASE NO. 4:07CR00130-02-WRW


                                     SENTENCING MINUTES

Begin: 2:26 p.m.                                                                      End: 2:45 p.m.

Court finds ( ) grounds - ( ) 5k1.1 ( X ) other ( X ) no grounds: for departure


SUPERVISED RELEASE:                                                         PROBATION: 3 YEARS

SPECIAL CONDITIONS OF SUPERVISED RELEASE OR PROBATION:
( X ) Defendant shall participate, if deemed necessary by the probation officers, in a substance abuse
treatment program which may include testing, outpatient counseling, and/or residential treatment and
shall abstain from the use of alcohol throughout the course of any treatment.
( X ) 6 months residential re-entry program
( ) Defendant shall participate as directed in mental health treatment as directed by USPO.
( ) Mandatory drug testing shall apply.
( ) Supervised release is to be administered by the district where the defendant is a legal resident
and/or the district where a suitable release plan has been developed.
( ) Financial Disclosure.
( X ) The defendant shall cooperate in the collection of DNA as directed by the probation officer.
( ) Defendant remanded into custody of U.S. Marshal.
( X ) Appeal right.

PSR adopted; forfeiture allegation dism’d from superseding information.

Fine:     _______N/A__________________         To be paid:___________________________________
Restitution: ______N/A_________________        To be paid: ___________________________________
Special Assessment:___$100.00___________        To be paid: ________Immediately_______________
